        Case 1:21-cr-00382-PLF          Document 78         Filed 09/27/23     Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CRIMINAL CASE NO: 1:21-CR-0382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    ) BENCH TRIAL: NOVEMBER 8, 2023
                                           )
         DEFENDANT.                        )
__________________________________________)

         RESPONSE TO GOVERNMENT’S MOTION IN LIMINE
        TO LIMIT CROSS EXAMINATION OF U.S.S.S. WITNESS
———————————————————————————————————————


       Christopher Warnagiris is scheduled for a bench trial on November 8, 2023.

       The DOJ has filed a motion in limine to limit the cross-examination of the U.S. Secret

Service Witness.

       The defense opposes this motion partially.



I) Opposed Portion

       The Government specifically seeks the preclusion of defense cross-examination questions

related to “the locations where protectees or their motorcades are taken at the Capitol.” This is a

problem for Counts charged under 18 U.S. Code § 1752, which prohibits entry into “any posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service is or will be temporarily visiting.”




                                               PAGE 1 / 3
          Case 1:21-cr-00382-PLF          Document 78         Filed 09/27/23       Page 2 of 3




        The statute specifically prohibits entry into an area of a building or grounds — but not

entry into the building or grounds in and of themselves generally. The statute prohibits entry only

into an area where a protected individual is or will be temporarily visiting, but not where the

protected individual was previously. The area of the building where the protected individual is or

will be visiting is directly consequential to the charges brought against the defendant in Counts

Four, Five, and Six. Therefore, the location of V.P. Pence is indispensable to a trial on these

Counts.

        Disallowing the defendant to cross-examine a witness against him on allegations directly

relevant to his charges is a violation of the Confrontation Clause as well as the Due Process

Clause, and the Defendant’s right to present a complete defense.

        The Government does not need to prosecute these counts if they wish to keep the relevant

information concealed. However, if the Government continues with these Counts, the defendant

is entitled to a public trial on the facts directly relevant to the indicted charges.



II. Unopposed Portion

        The Government seeks to protect information about “the nature of Secret Service

protective details, such as the number and type of agents the Secret Service assigns to

protectees.” Since this information is not directly relevant to any Count in the Indictment, the

Defense will respect the Government’s wishes. Mr. Warnagiris is not interested in cross-

examining witnesses on issues that are irrelevant to his charges and has no plans of making his

trial into the spectacle that the Government appears to be expecting.




                                                 PAGE 2 / 3
        Case 1:21-cr-00382-PLF          Document 78         Filed 09/27/23    Page 3 of 3




                                              Respectfully submitted,

                                              By Counsel:

                                                     /s/
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                        CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on September 27, 2023, I will electronically file the foregoing with
the Clerk of the Court for the United States District Court for the District of Columbia by using
the CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and
that service will be accomplished by the CM/ECF system.

                                                    /s/
                                              Marina Medvin, Esq.




                                               PAGE 3 / 3
